Case 2:20-cr-00002-TSK-JPM Document 14 Filed 07/07/20 Page 1 of 6 PageID #: 19



                                                              United Siates Department ofJustice

                                                              William J~ ~1weJl
                                                              Un&dSkde~ Attorney
                                                              ~j~L~€I S~a~eg Aucar, p ~
                                                              VQrthLm District t~f W~s~ Tzrgmu2       _____




                                                              Jaouar 8~ 2020

 Stan L~vcn~on F.sq.
                                                                                     JUL -7 2020
 Pbur~h PA 15217
                                                                              U.S. DISTR~ COURT..WVND
                                                                                 WHEELING WV 26003

                              v~ Rcrnckzlldo’eph Si~wii
        Cae~o~ ~?‘~ij         Cf- ~
 Dear Mr. levrn~om

         This wifI confirm conversations with you concerning your cHeat Randall Joseph Srriall.
 (hereinafter refern,d to as ekndaufl. This otTer will expire on Jartudr~ 24, 202ti~ unl~s~.. ~ ~itteu
 accenbne~ is received b~ the United Staie~ Aucmev’s Oflke before then. AU rcf~rc~cc~ t&, the
   Guidc1jncs~ refer to Ihe guidciinth e~iaNishcd by the I. nited Saecs Sentencing Commiss~on, efl~tiv~
 ‘lovember I. I 9~7~ as amended.

        ft is agreed bt~cn the t~ ntted Stales rod vow’ client ~ Miows:

         .     Defendant wifl waive the rigLt to has~e his ease presented to a Grand Jury and plead guilty
 to aOnc~-Count InJb~ation char~ng him with 1~ank ~ rand. in violation of Fitle 18, United States Code,
 Section 1344(2),

       2.     The maximum penally to whIch I)ei~ndant v~ill be exposed b~. ~irtuc of his ptea o~guiIty,
a~ %Lated hi paragraph t above is: imp~i’onnient for a period o not more that~ thi’~y ~30) years
imprisonmerfl ~ line of upto SL000.,000; and a term ctf the (5~ years super~sed -e’casc.

      it is ferther .rnderstood by DeIèndarit that there is a special rntmdatoty a~se~srnent of S1OtLOO C I
US.C. ~ 3C)l 3) per Iblony cons icliun which must he psid within 40 dayc following ent~’ of h~s pica by



                                                                 -f
 Rend&IY Joseph Smuil


,$1’~rn cvci~ison, h~q.                                      Date
  Counsel fbr flefendant
Case 2:20-cr-00002-TSK-JPM Document 14 Filed 07/07/20 Page 2 of 6 PageID #: 20



 monet order or certified check to the United States Disthet Court. T~t is also understood that Defendant
 may b~ required by the Court to pa~ the costs o~’ his incurceratkm, supervision. and probation.
         3.      l)efendatn will be completth~ liruiright and truthful with regard to all inquiriec~ made ~
 him and will ghe si~~~c& sworn ~aatetnents and grand jury arid uiul testimony relative thereto. Defendant
 ~sM agree to submit to a polygraph examination fi requested to do so by the tlriited States Attorney’s
 Office for the ~iøribern Distaict of %Vest Virgnia.

         3.      A.       ~othing contained in any statement or any testimony gi~eri by Defendant
                          pursuant to paragraph I will be used against him as the basis for any subsequent
                          proseeutior~ ft is understood that any inlbrmation obtained from Oefrndant in
                          compliance with this Cooperation agreement will ne made known to the scrnendng
                          court, howevet pursuant to Guideline 1111 ~ such infonnation may riot he used by
                          the Court in determhiin~ Defendant’s applicable guidelne range.

                 B.        ibis agreement does urn prevent Defendant prom being prosecuted for any
                          violations of other Federal and state laws he may have committed should evidence
                          of any such vi~Jation~ be obtained from an independent legitimate source, sepande
                          and apart from that information and testimony being provided by him pursuant to
                          this agreement

                 C.       In addition, nothing contained in this agreement shall prevent the United States
                          fiom prosecuting Defendant for perjury or the giving of a false statement 1o a
                          federal agent if such a situation ‘thould occur by virtue of hi~ Lidfilling the
                          conditions of paragraph 3 abo~c.

         5,      At final disposition4 the United States wi’l advise the (cmi of 1)eforidant~s forthrightness
 and truthfiulness, or lailurcia be forthright and truth U1. and ask the Court to give the same stich weight as
 the Court deetns appropriate.

         6,     There have been rio representations whatsoever by any sgcni or employee of the t ~‘niIed
 States, or any other law enforcement agency~ or l)efrndant’s counsel as to what the l~mal disposition in
 this matter ~shcnild and will be. [his agreement includes nonbindmg, recommcndtuions by the t. nited
 States. p4rsuant to Rule 1 l(cJ(l lI~tt): however. Defendant understands that the Court is not bound by these
 sentence rccommendatkrns, and that. Defendant has no right to withdraw a guilty &ea ii’ th~ Court does
 not follow the seriecncin~ rccommendatkms set forth hi this pica agreement




  Randail Joseph S ~ail

                                                               ~.~L—/ ?—~-~
   tan £censon, Esq~                                           Date
  Counsel for Defendan~.
Case 2:20-cr-00002-TSK-JPM Document 14 Filed 07/07/20 Page 3 of 6 PageID #: 21



         7.     The Lrnzed Sui~ will make the thIIos~ing nonbindh~g recommeadatlons:

                A.       IL in the opinion of the United States AtLomcy~s Offlce~ Dellmdaiu accept~
                         responsibility and if tht probation office recommends a two~!evei re&elion for
                         ~acceprance of rc~ponsihi1ity,~ as pro~idcd by Citdde1in~ 3ELI. then the 1 nited
                         States will concur in and make such recommendation;

                 l3~     Should Defi~ndanm give tiznch and complete infbrmarion aho~ii his own criminal
                         ‘nvoisemtment and provide timely notice of his intent to plead guilty. thereby
                         petmitting the Lnited Slates to avoid trial preparation and if he complies ~rith all
                         the requirements vi this agreement. ~nd if the Defendant is eligible tinder the
                         “Guidelines,” then United Suites will recommend an additional one Ie~d
                         redaction, so long as I)efendtmnt executes the plea agreement on or before Jan utir~
                         20~ 2020 ana returns mm executed copy to me I ~nited States by that day~

                C..      Ibe United States ~vill ~mcommcnd that azm~ sentence of inczreera’ion im~oscd
                         should be at the lowest end of the guideline range.

         S.    If in the opimon of the United States, the l)eLi~mndant either engages in conduct defirica
 under the Applicable Notes of Guideline 3d ~I. hdls to cooperate as promised, or violates any other
 provision af this plea ~igrvcmcm. then the I ‘muted States will not be bound to make the thregoing
 rccomnucndaikrn~. and the Defendant will mmvi. have the right to withdraw the pica.

                  Pursuant at. Sections 41~1 A and 1 RI 3 of the Guide~inec the parties hereby stipiiae and
 agree that the base o~Tense Ictri is a I3ase U0~nse Level 7, pursuant to Section 2BIi(a)(1~, bec~nisc the
 offense of conviction has a stawton maximum of 20 years or more. In addution~ (he panics hereby
 stipulate and agree that a fourteen-level upward a usimnent is applicable pursuwn to Section
 2131 ~i(b)(1)(H) because the loss is more than $550,000, but less than SI ,500,000, The parties understanu
 that pursuant to Seatton $BL4(d), the Court is not bound by the abtwe stipulation and is not required to
 accept the ~amc. Defendant understunds and agrees that should the Court not accept the ahov~ stzpulation~
 I)e(~ndant will not have the oght to withdraw his plea olguilts.


         10.    The defèmjdaa1 admowledges th~z restitution is mandao~y, pursuant to Tide I 14, 1. nited
 Statc~ Code, Section 3663A, and agrees that he shall pay restitution in the amount detenniried ~y the
 Court, to Pcndlcton Community Bank. and to the l~st~re of Forest Rogers. Ilie parties agree to litigate at
 sentencing the amount of applicable loss attributed to the defendant itt calculating restitution.


      ‘2
  Rt~ndplI Josepa Sm 1


  ~au LCVCflSOfl~ Lsq.                                        Date
 Counsel li)r Dcfi,ndant
Case 2:20-cr-00002-TSK-JPM Document 14 Filed 07/07/20 Page 4 of 6 PageID #: 22



                Dcknclarn k a~,arc that IS t~S~C. ~ 3742 affonic ~ Defendant the r~ghL to appeal the
 senlem~c imposed. Ackntn~.kdgir~g this. and in exchange ihr the concessions made b3 the United Stiacs in
 this pica agreement. Defendant wahes the fo[lov~ing tij~hts;

         ~         ~mint knowingly w~ti~cs all right. pur~aut to 28 LS~C. ~ 1291 or any ~th~r
                   statute or constitu~onal provision, to nppcal the Defendants conviedon cm anY ~otmd
                   whatsoever. This includes o v~ai~cr ofafi risjns to appeal the 1)efendants conviction on
                   the ground that the statute(s) to which the defendant is pleading guilt) is
                   uncunslitutional or on the round that the adn±tcd conduct does. not. fall withn the
                   scope of the StdtL1tC~S).

         Ii        The Defendant kno~ugly and evpre~sly waives all rights conferred by 18 LLS~C, * 3742
                   to appeal whatever sentence k imposed (inchiding an) finc~ tcnn of iper~Ised rclcasc~ or
                   order of resliludon) for any reason (including the esiubjishn-.cm ofthe adviso~ sentencing
                   gaidelines range, the determination of the defendsnt~s crirmnal t.nst~y. the wc~ghing ~f the
                   sentencing factors, and any constizutiontd challenges to th~ calculation and imposidon of
                   any term of ituptisonment, fine, order oftbrfehurc, order of re~dnxtiun4 and [cmi or
                   condition of supervised release).

         C.        Th challenge the conviction or the sentence whicri is v. ithm the maximum pros ided
                   in the ~datJte of conviction or the manner in which it v~asdctcnnined in an~ post~
                   conviction proceeding. including an~ proceeding tinder 281 ~C ~ 2255,

          ~othing in tnis paragraph, ho~vcr. wi’l acs a bar to Defendant perfecting any legal remedies
 he mas otherwise ha’e on appeal or coilatera~ attack respecting cluirrts ofineffccth’e assistance ofcounsel
 or prosecutoritd misconduct Dei~ndant agrees mat there is cuircntly no kno’an evidence of ineti~cti’ce
 sssi~a~ince of counset cw prosceutoria! miscon&cL.

         This wther of appellate rights is not intended to represent the Defendant’s estimation ofwhat an
 appropriate Or reasonable sentence ~ouid or should he. No’ does this waiver of riahts prevent Defentiam.
 from arguing lot a sentence below the atbrernentioncd adjtisted advisor) Guideline offense le’~e1 at
 senLereing~ The Urthed States waives its right. to appeal any sentence within the ~pplicahle adiisozy
 Guideline range. Both parties haic the rig~it during any appeal to argue in support of the sentence.

          12.    ihe United States reserves the right toprov~de to the Coon and the United States Probation
 t)fflce, in connection with am, presentence investigation that may be ordercu pursuant to Rule 32(cj of
 the Federal Rules of Criminal Procedure, ~r in conhection v~kh 1h~ imposition of sentence should the
 Coun, pteswina to Rule 32(cXl), no; order a presentence in~estigation. relevant information, including
 litformation regarding D&rtdant’s background, criminal record, the offèn~e charged in the Infrirmation

                             ______                             ~

  R~ndall         ph Small                                      Date
              -               ______                 —                         _______



/Slan Lcvenson~ Esc,                                            Date
  Counsel for l)efëndant
Case 2:20-cr-00002-TSK-JPM Document 14 Filed 07/07/20 Page 5 of 6 PageID #: 23



 arxl other pertinent data appearing at Rule 324cX2) ul the Federal Rules of Criminal Procedure. as will
 cnab~e the C~urL to exercise its senleueing discretion. ~Fhe I ~nited Slates also retains the right to respond
 to any questions raised I~y the Court. to eorr~ct am ins ireeks or rndeq~ies hi the anticipated
 preserttence investigation report to be prepared by the Probation QUiet of the Court. and to respond to
 any ~wittcn or øral steternents made by the Cøurt. by Dekadant or h~s cøunsel,

          I 3.   The defendant agrees that all monetary penalties imposed by the Court will be due and
 payabLe irnmediat~ly and subject to immediate enforcement by rae Linked States dS provided in 1$ I. S,C~.
  ~ 3613. I unh~nnorc~. the deferid~ni ~grecs to provide aL~ requested linrmeiäl information to ike tinited
  Stales and the U.S. Probation Ofliec, and agrees to participate in a pre~scntcncing debtor examination if
 requested by the U.S. Atlomc~s Office, rhc d&ndant also authorizes tue Financial Litigation Link in
 the U.S. A.tormzy~s Office to access the defendant’s credit, report from an~ major credit reporting agency
 prior to sentencing in order to assess hi~ (toruicial condition for sentendllig purposes. The defendant agrees
 to complete a tirtancial statement, under penaLty of pemjurv. and to submit the finandal sodenitmt on the
 date sped fled and lu accordance with im~lructions provided by the L .5. Attorney’s Oflice, The defendant
 further agrees that any schedule ol’ payments imposed by the Court represents the defendant’s minimal
 linuncial obligation and shall not constitute the only method a~a11ab1c to the United States to eriIbri~e ~r
 collect any criminal monetai~. penalty judgment. Ifthe dedtndtmt is sentenced to a period ofincuwccrr,tion.
 the defendant at~rees to participate in the Federal Bureau of Prisons’ Inmate Financial Responsibility
 Program. even ifthe Court does not specifically direct participation. In addEtion~, the defendant agrees the’
 the United Srate& through the Financial litigation Unit. ma~ submit any unpaid criminal monetary penalty
 to the United States ‘1 reawr’, ‘br ofi~ct in accordance with the freasurv Offset Program, re~ardlcs~ of the
 defendant’~, payment slants or history at that time

        In order to oay Soy outstanding cthninal monetary peratiuics. the defendant agrees to i. ~ioIunmamy
 garnishment of2~ of all noncxcmpt net disposable earnings from any jab or emplovowut, to be withheld
 from his wages, salary or commissions, without prior demand for pu~ment under the Federal Debt
 Collection Procedures Act. 28 U.S.C. ~ 3205. The defendant hereby also waives any exceptions that may
 be applicable under the Consumer Credit Prcaecmio Act, 15 U.S.C. ~ l6~’3.

         I he defendant agrees not to encumber, sell, ramnafer. or in any other way dispø~c of any assets
 without authorization from the Linked Stales or the Court


       14.      Defendant understands that the United States Sentencing (inidelines ate now advisory and
 no longer mandarm~y. It is ‘hcrcforc understood that the sentencing court may ascertain and impose a
 sentence below or above the applicable (iuiddin~ runge. so long as that sentence is reasonable and within
 the statutory maximum specified in Title 18 ofthe United States CaJe ftir the offenses ofconviction.


   ~ ~~t~i)                                                     / —/ T~? ~
  Randall Josenh mail                                          Date

                                                               _L±L.≥~_
   tan Levenson, hsq.
  Counsei for Defendant

                                                                                                         -5-
Case 2:20-cr-00002-TSK-JPM Document 14 Filed 07/07/20 Page 6 of 6 PageID #: 24



        iS.       If L)ekndarn’s plea is not acecptcd b) the Court or i~ later set ~sid~ or if he hi-cadres any
  part of this ~greem~nL then the Office or Ehc United States ~ttorm~ ~iII have the right to ~dthdraw any
  acntcnerng recommendations and or to void this ~greemenr.

                  De~ndrnn agrees to forfeit and abandon any right to an) and aB evidence and property
  SCi7Aul during the course ofths investigation (inchiding but not limited to any item subjec: to ihri~iiarc~
  ~m~i wai~cs any right to scdk the return elan’ propertY pur~ua~ to FerL R. Crim~ P.41 or
  otherwIz~e. Defcndam underatauds and agrees that items seized during the course of this invesrip~aion
  wfli b.c dcstmyed Or oi rise disposed vlby the scizinp 1a~ enilircernent agency.

      17,       The above 16 par~grapbs constitute the en1ir~ agreement beiweer Delcudant and toe
  nited States ofAmerica in this mattcr~ There are ~to agreements, nnderstandings~ or prorni~
 between the partics other than th~c contained In this A~rceincnt

                                                                Very truly yours~

                                                               Will TAM 3. POWhU
                                                               ~Jnitcd States Anomc~.


                                                               __               ____-

                                                        B      Danac DcMasi~l emon
                                                               Assistant 1. sited States Attorney




 A, e~idenccd by rn~ signature at the bouLrn ~f the 6 pages of this ~ner agreement I have read arid
 understand the pni isrons of each paragraph herein andy hereby~ Mb appro~e ofeach pmvisiorL




                                                                /~
  Randal1i~ph St~1                                             Dare


/SJfl~in I VenSon~ L~sq,
                                                               / ~1 L
                                                               Dare
                                                                        -




  (~ounseI for Dc~ndarn
